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Exhibit 102

November 6, 2023 Notice
Delivery Confirmation
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From: TrackingUpdates@fedex.com

To: Josh Weiner

Subject: FedEx Shipment 774005290794: Your package has been delivered
Date: 11/7/2023 9:35:00 AM

CC:

BCC:

Message:

Warning: External email, use care with links & attachments

Hi. Your package was
delivered Tue, 11/07/2023 at
8:2/am.

Delivered to 10805 OLD MILL RD, OMAHA, NE 68154
Received by A.PAUL

OBTAIN PROOF OF DELIVERY
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How was your delivery ?

www vv

TRACKING NUMBER

FROM

TO

SHIP DATE

DELIVERED TO

PACKAGING TYPE

ORIGIN

DESTINATION

NUMBER OF PIECES

TOTAL SHIPMENT WEIGHT

SERVICE TYPE

774005290794

SPARTA Insurance Holdings, Inc
5 Batterson Park Road

3rd Floor

FARMINGTON, CT, US, 06032

Pennsylvania Insurance Company
Jeff Silver

10805 Old Mill Read

OMAHA, NE, US, 68154

Mon 11/06/2023 06:34 PM
Receptionist/Front Desk
FedEx Envelope
FARMINGTON, CT, US, 06032

OMAHA, NE, US, 68154

0.50 LB

FedEx Standard Overnight
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Notifications, from
start to finish

Get push notifications when you pair
FedEx Delivery Manager® with the
FedEx® Mobile app. You can
activate alerts in the app to track
your package. Then listen for the
virtual doorbell chime that lets you
know your package was delivered.

DOWNLOAD THE MOBILE APP

FOLLOW FEDEX

FIPlease do not respond to this message. This email was sent from an unattended mailbox.
This report was generated at approximately 8:34 AM CST 11/07/2023.

All weights are estimated.

To track the latest status of your shipment, click on the tracking number above.

Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see
the FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back

Guarantee, or contact your FedEx Customer Support representative.

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Thank you for your business.
